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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                           SOUTHERN DIVISION AT LONDON
                                  (Electronically Filed)

APPALACHIAN REGIONAL                            )
HEALTHCARE, INC.                                )
                                                )
        Plaintiff,                              )    CASE NO. 6:19-CV-00038-GFVT
                                                )
V.                                              )
                                                )
PURDUE PHARMA L.P., ET AL.                      )
                                                )
        Defendants.
                                                )
                                                )
                                                )

                        DEFENDANT CARDINAL HEALTH, INC.’S
                     RULE 7.1 CORPORATE DISCLOSURE STATEMENT

        Pursuant to Federal Rule of Civil Procedure 7.1, Defendant Cardinal Health, Inc. certifies

that it has no parent corporation. Cardinal Health, Inc. is a publicly traded company and there is

no publicly held company owning 10% or more of its stock.1




1
  By filing this required corporate disclosure statement, Cardinal Health, Inc. does not concede
that it is a proper party to this action.
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                                                 Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on February 13, 2019, I electronically filed the foregoing with the
Clerk of the Court by using the CM/ECF system which shall automatically serve all counsel of
record. In addition, the following were mailed copies via U.S. Mail, postage prepaid:

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